Case 2:18-cv-01148-MPK Document 30 _ Filed 06/26/19 Page1of1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA

YANCEY D. TAYLOR,
Plaintiff,

v.

FRONTIER AIRLINES, INC.,

Defendant.

Case No.: 2:18-cv-01148-MPK

Magistrate Judge Maureen P. Kelly

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ORDER APPROVINIG

STIPULATION OF DISMISSAL WITH PREJUDICE

IT IS HEREBY agreed and stipulated by and between the parties, Plaintiff YANCEY D.

TAYLOR and Defendant FRONTIER AIRLINES, INC., that Plaintiffs Complaint against

Defendant is dismissed with prejudice, with each party to bear the party’s own attorneys’ fees

and costs.
Date: June 24, 2019
YANCEY D. TAYLOR

By: _/s/ Kevin S. Burger
Attorney for Plaintiff

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Respectfully submitted,

FRONTIER AIRLINES, INC.

By: _/s/ Tara Shelke
One of the Attorneys for Defendant

Brian T. Maye

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